              Case: 14-2058                   Document: 79           Filed: 10/15/2014        Pages: 2



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                         Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                               Phone: (312) 435-5850
             Chicago, Illinois 60604                                                     www.ca7.uscourts.gov




                                                           ORDER
 October 15, 2014
                                                            Before
                                      FRANK H. EASTERBROOK, Circuit Judge

                                      DIANE S. SYKES, Circuit Judge

                                      JOHN DANIEL TINDER, Circuit Judge

                                         RUTHELLE FRANK, et al.,
                                         Plaintiffs - Appellees

                                         v.
 No.: 14-2058

                                         SCOTT WALKER, in his official capacity as Governor of State of
                                         Wisconsin, et al.,
                                         Defendants - Appellants

                                         LEAGUE OF UNITED LATIN AMERICAN CITIZENS OF
                                         WISCONSIN, et al.,
                                         Plaintiffs - Appellees

 No.: 14-2059
                                         v.

                                         DAVID G. DEININGER, et al.,
                                         Defendants - Appellants

  Originating Case Information:

 District Court No: 2:11-cv-01128-LA
 Eastern District of Wisconsin

  Originating Case Information:

 District Court No: 2:12-cv-00185-LA
 Eastern District of Wisconsin
                                                                                      - over -




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      Upon consideration of the PLAINTIFFS-APPELLEES’ EMERGENCY MOTION
TO STAY JUDGMENT AND MANDATE PENDING FURTHER REVIEW, filed on
October 7, 2014, by counsel for the appellees,

       IT IS ORDERED that the motion for a stay of mandate is GRANTED. This stay
will expire automatically if the time to file a petition for certiorari expires without a
petition being filed, or if a petition is filed and denied. If a petition is filed and granted,
the stay will continue pending the Supreme Court’s decision.




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